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 1

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 3

 4

 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6

 7
                                                                  CASE NO. 2:21-cv-01316 MJP
 8                                                                [to be filled in by Clerk’s Office]
         Dinghui Deng
 9                                                                COMPLAINT FOR A CIVIL CASE
                                            ,
10                                                                Jury Trial: ☐ Yes ☐ No
                                    Plaintiff(s),
                 v.
11
         Seattle Municipal Court, Seattle City
12
         Attorney, Seattle Police Department
13
         King County Superior Court, King
14
         County Attorney, Miguel Rivera(aka)
15
         Ildiko Baldwin, Charlie Joe Wing,
16
         Csilla Travis, Cristy et al.
17

18                           I.         THE PARTIES TO THIS COMPLAINT

19      A. Plaintiff(s)

20          Provide the information below for each plaintiff named in the complaint. Attach
     additional pages if needed.
21
               Name                                 Dinghui Deng
22                                                  910 8th Ave
               Street Address
23             City and County                      Seattle City, King County
               State and Zip Code                   Washington, 98104
24                                                  (206) 209-7624
               Telephone Number

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 1      B. Defendant(s)

 2             Defendant No. 1
                                               Honorable Catherine McDowal, Honorable Adam
 3                   Name                      Eisenberg, Honorable Damon Shadid
                     Job or Title (if known)   Seattle Municipal Court Judges
 4
                     Street Address            600 5th Avenue
 5                   City and County           Seattle City, King County
 6                   State and Zip Code        Washington, 98104
                     Telephone Number          (206) 684-5600
 7
               Defendant No. 2
 8
                     Name                      Honorable Jerome Roaché
 9
                     Job or Title (if known)   Seattle Municipal Court Magistrates
10                   Street Address            600 5th Avenue
                     City and County           Seattle City, King County
11
                     State and Zip Code        Washington, 98104
12
                     Telephone Number          (206) 684-5600
13
               Defendant No. 3
14
                     Name                      King County Superior Court
15
                     Street Address            516 3rd Ave
16                   City and County           Seattle City King County
17                   State and Zip Code        WA 98104
                     Telephone Number          (206) 296-9300
18

19             Defendant No. 4

20                   Name                      King County Attorney
                     Street Address            516 3rd Ave
21
                     City and County           Seattle City King County
22
                     State and Zip Code        WA 98104
23                   Telephone Number          (206) 296-9020

24


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 1             Defendant No. 5

 2                   Name                        Zavidow Grace E. and Seattle City attorneys
                     Job or Title (if known)     Seattle City attorneys
 3
                     Street Address              701 5th Ave #2050
 4                   City and County             Seattle City, King County
 5                   State and Zip Code          Washington, 98104
                     Telephone Number            (206) 684-8200
 6

 7             Defendant No. 6

 8                   Name                      Miguel Rivera (aka)

 9                   Street Address            600 5th Avenue
                     City and County           Seattle City, King County
10
                     State and Zip Code        Washington, 98104
11                   Telephone Number          (206) 684-5600

12
               Defendant No. 7
13                   Name                      Officer Abshir Hussein, Sean Lane, et al
14                   Job or Title              Seattle Police Department
                     Street Address            610 5th Avenue
15
                     City and County           Seattle City, King County
16                   State and Zip Code        Washington, 98104
17                   Telephone Number          (206) 625-5011

18
               Defendant No. 8
19
                     Name                      Ildiko Baldwin
20                   Street Address            18291 Deuce Rd
                     City and County           North Fort Myers, Lee County
21
                     State and Zip Code        Florida, 33917
22                   Telephone Number          (239) 810-6166
23

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 1             Defendant No. 9

 2                   Name                 Csilla Travis
                     Street Address       1120 8th St NE, Unit 11
 3
                     City and County      Auburn, King County
 4                   State and Zip Code   Washington, 98002
 5                   Telephone Number     (253) 797-5302

 6
               Defendant No. 10
 7
                     Name                 Remington A. Yhap
 8                   Street Address       247 Wadsworth Ave, Unit 3V
                     City and County      New York
 9
                     State and Zip Code   New York, 10033
10                   Telephone Number     (917) 754-0051
11
               Defendant No. 11
12
                     Name                 Charlie Joe Wing
13
                     Street Address       74 Lime Walk, Long Sutton
14                   City and County      Spalding, Lincolnshire

15                   State and Zip Code   PE12 9HQ England
                     Telephone Number     +44 7935 219089
16

17
               Defendant No. 12
18
                     Name                 Cristy Smith
19
                     Street Address       Crowne Plaza Hotel Manager
20                   Job or Title         1113 6th Ave

21                   City and County      Seattle, King County
                     State and Zip Code   Washington, 98101
22
                     Telephone Number     (205) 464-1090
23

24


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 1                                  II.     BASIS FOR JURISDICTION

 2           Federal courts are courts of limited jurisdiction (limited power). Generally, only two

 3   types of cases can be heard in federal court: cases involving a federal question and cases

 4   involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under

 5   the United States Constitution or federal laws or treaties is a federal question case. Under 28

 6   U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and

 7   the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of

 8   citizenship case, no defendant may be a citizen of the same State as any plaintiff.

 9           What is the basis for federal court jurisdiction? (check all that apply)

10           ☒ Federal question                      ☒ Diversity of citizenship

11           Fill out the paragraphs in this section that apply to this case.

12      A. If the Basis for Jurisdiction Is a Federal Question

13           List the specific federal statutes, federal treaties, and/or provisions of the United States

14   Constitution that are at issue in this case.

15           The First Amendment, The Fourth Amendment, The Fifth Amendment, The Sixth

16   Amendment, The Eighth Amendment, The Thirteenth Amendment, The Fourteenth Amendment;

17   18 U.S. Code § 3060, U.S. Code § 241, 242, 245, 248, 249, Chapter 16: Penal Law - Title 26, 18

18   U.S. Code § 1621, 1622, 18 U.S. Code § 2340 (1)(2), 18 U.S. Code § 2261, 2261A, 2264, 18

19   U.S. Code § 2232. 2235, 18 U.S. Code § 1503, 18 U.S. Code § 1506, 1509, 1510, 1511, 1512,

20   1513, 18 U.S. Code § 1341, 1344, 1346, 18 U.S. Code § 1015, 1061, 1028, 1028A, 1038, ect.

21   Federal Rules, Rule 2 Interpretation, Rule 5.1 Preliminary Hearing, Rule 7 The Indictment and

22   the Information, Rule 11. Pleas, Rule 12. Pleadings and Pretrial Motions 12.3 Notice of a Public-

23   Authority Defense 12.4 Disclosure Statement, Rule 14. Relief from Prejudicial Joinder Rule 15.

24   Depositions Rule 16. Discovery and Inspection Rule 25. Judge's Disability Rule 29. Motion for a


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 1           Judgment of Acquittal, Rule 37. Failure to Make Disclosures or to Cooperate in

 2   Discovery; Sanctions Rule 41. Search and Seizure Rule 48. Dismissal Rule 51. Preserving

 3   Claimed Error Rule 52. Harmless and Plain Error Rule 59. Matters Before a Magistrate Judge

 4   Rule 60. Relief from a Judgment or Order 36 CFR § 2.31 - Trespassing, tampering and

 5   vandalism. 36 CFR § 262.12 - Impoundment of property. 43 CFR § 9239.0-9 - Sale, lease,

 6   permit, or license to trespassers. 43 CFR § 9239.1-1 - Unauthorized cutting, removal, or injury.

 7   43 CFR § 9239.2-3 - Responsibility for execution of law.

 8

 9      B. If the Basis for Jurisdiction Is Diversity of Citizenship

10                   1.      The Plaintiff

11                        a. If the plaintiff is an individual. The plaintiff is Dinghui Deng.

12                   2.      The Defendants

13                        a. Individuals.

14           1. The defendant, Miguel Rivera (aka) is a citizen of the State of PA.

15           2. The defendant, Ildiko Baldwin is a citizen of the State of FL.

16           3. The defendant, Csilla Travis is a citizen of the State of WA.

17           4. The defendant, Remington A. Yhap is a citizen of the State of NY.

18           5. The defendant, Charlie Joe Wing, is an England citizen.

19           6. The defendant, Cristy Smith, is unknown.

20                        b. Corporations.

21           The defendants, Seattle Municipal Court, Seattle City Attorney, Seattle Police

22   Department are incorporated under the laws of the State of WA and has its principal place of

23   business in the State of WA.

24


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 1                   3.     The Amount in Controversy.

 2           The amount in controversy-the amount the plaintiff claims the defendant owes or the

 3   amount at stake-is more than $75,000, not counting interest and costs of court, because (explain):

 4           A. Fraud/Marriage Fraud. Which had caused multiple damages to my whole family.

 5   Family stands the most important place in the big picture. Because I’m the only child, the effect

 6   of nerves increased multiply through the connection.

 7           B. Countless Crimes/illegal acts such as Domestic Abuse/Violence/Torture, Bigamy

 8   /Double Bigamy, Defamations and False Reports, Perjuries and Collusions, Isolations, Forgeries,

 9   Frames, Libels and the Caused Injuries, Mischiefs, Burglaries, Trespasses, Anticipatory Offenses

10   etc. had damaged me deeply into spiritually broken down.

11           C. The Group and the collusions caused the secondary damage.

12           D. The Seattle Police Department and King County Superior Court Family Court caused

13   the triple damage.

14           E. The City Attorney caused the quadruple damage.

15           F. The Seattle Municipal Court caused the quintuple damage.

16           G. Miguel Rivera (aka) destroyed my whole life, damaged my friends, families, everyone

17   he knows or might think of. There will not be justice with representations open mouth for anyone

18   there will not be close to justice with blindness and neglections to the law and rules. The cruel

19   discrimination lawlessness neglection and the failures of policy implementation, the ostensible

20   never fulfilled statements/judgements, the formularized predictable procedures, the ease of using

21   the system, the stubbornness of formulars and damages caused, with the reversed purpose of

22   attorneys against to the law, (court’s) unknown operations behind the court as the most important

23   part formed the sextuple damage.

24


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 1                                             III.       STATEMENT OF CLAIM

 2           Attachment 1

 3           Statement summary...............................................................................................1

 4           A. Miguel Rivera’s pervious life – The reason why abusive litigation.................1

 5           B. My disaster........................................................................................................4

 6                I. Timelines......................................................................................................4

 7                II. Miguel Rivera’s background.......................................................................4

 8           C. Misconducts.......................................................................................................8

 9                (a). Instruction..................................................................................................8

10                (b). Events (extracted from attachment) .........................................................8

11                (c). Rules..................................................................................................,......13

12                (d). Local Law.................................................................................................14

13                                                            IV.        RELIEF

14           Attachment 1

15           RELIEF.................................................................................................................19

16           I. What damages....................................................................................................19

17           II. other relief.........................................................................................................20

18           III. Basis of claim are continuing at the present time............................................20

19                The hearings on 06/28/2021 and 06/30/2021...................................................20

20                The hearings on 07/15/2021 and 08/26/2021...................................................21

21           IV. the amounts of any actual damages and reasons ………….............................22

22                Total amount to be: $5,561,800........................................................................28

23           V. The violation of the civil rights..........................................................................29

24           VI. Name/Title of Person(s) Responsible...............................................................31


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 1                              V.       CERTIFICATION AND CLOSING

 2           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

 3   knowledge, information, and belief that this complaint: (1) is not being presented for an improper

 4   purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

 5   (2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

 6   reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

 7   identified, will likely have evidentiary support after a reasonable opportunity for further

 8   investigation or discovery; and (4) the complaint otherwise complies with the requirements of

 9   Rule 11.

10           I agree to provide the Clerk's Office with any changes to my address where case-related

11   papers may be served. I understand that my failure to keep a current address on file with the

12   Clerk's Office may result in the dismissal of my case.

13

14

15

16           Date of signing:

17

18           Signature of Plaintiff

19

20           Printed Name of Plaintiff     Dinghui Deng                                   .

21

22

23

24


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